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Exhibit A

Plan Amendments
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369. “TCEH First Lien Claims” means, collectively: (a) the TCEH Credit Agreement Claims; (b) the
TCEH First Lien Note Claims; (c) the TCEH First Lien Interest Rate Swap Claims; and (d) the TCEH First Lien
Commodity Hedge Claims.

370. “TCEH First Lien Collateral Agent’? means Wilmington Trust, N.A., solely in its capacity as
successor collateral agent to Citibank, N.A. under the TCEH First Lien Intercreditor Agreement.

371. “TCEH First Lien Commodity Hedge Claim” means any Claim derived from or based upon the
TCEH First Lien Commodity Hedges.

372. “TCEH First Lien Commodity Hedges” means the commodity hedges entered into by TCEH and
secured by a first lien on the same collateral as the TCEH Credit Agreement Claims and the TCEH First Lien Note
Claims.

373.  “TCEH First Lien Creditor Adequate Protection Payment Allocation Dispute” means the issue
raised by the TCEH First Lien Notes Trustee and/or certain Holders of TCEH First Lien Note Claims that, pursuant
to section 510(a) of the Bankruptcy Code or otherwise pursuant to applicable law, the Adequate Protection
Payments (as defined in the Cash Collateral Order) under the Cash Collateral Order must be allocated among the
Holders of TCEH First Lien Claims pursuant to the Postpetition Interest Allocation Calculation (as defined in the
Cash Collateral Order); provided, however, that nothing in this definition shall limit any claims or defenses to such
issue.

374. “TCEH First Lien Creditor Adequate Protection Payment Allocation Order” means a Final Order
resolving with prejudice the TCEH First Lien Creditor Adequate Protection Payment Allocation Dispute.

375. “TCEH First Lien Creditor Allocation Disputes” means, collectively: (a) the TCEH First Lien
Creditor Adequate Protection Payment Allocation Dispute; and (b) the TCEH First Lien Creditor Plan Distribution
Allocation Dispute. For the avoidance of doubt, the TCEH First Lien Creditor Allocation Disputes shall not
include the elaimas—er-Causes_of Act 5S Me 5 é -PTCEH First Lien Creditor
Deposit L/C Collateral Allocation Dispute.

376.___ “TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute” means the issues raised in
the action captioned Marathon Asset Management, LP, v. Wilmington Trust, N.A., (Index No. 651669/2015), that

was originally filed by Marathon Asset Management, LP in New York State Supreme Court on May 14, 2015, or
any successor action, adversary proceeding, contested matter, or other litigation proceeding in which any claim or
Cause of Action is asserted that the Holders of Deposit L/C Loans (as defined in the TCEH Credit Agreement)
have a priority security interest, as compared to other Holders of TCEH First Lien Secured Claims, in certain cash
deposited in the Deposit L/C Loan Collateral Account (as defined in the TCEH Credit Agreement}.); provided,

377. “TCEH First Lien Creditor Distributions” means any and all of the distributions set forth in
Article [1I.B.28(c)(i), (ii), and (v) below.

378. “TCEH First Lien Creditor Petition Date Allocated Claim Amounts” means the Allowed amounts
of such Claims as of the Petition Date as set forth in the Plan.

379. “TCEH First Lien Creditor Plan Distribution Allocation Dispute” means the issue raised by the
TCEH First Lien Notes Trustee and/or certain Holders of TCEH First Lien Note Claims that, pursuant to section
510(a) of the Bankruptcy Code or otherwise pursuant to applicable law, the TCEH First Lien Creditor Distributions
should be allocated among the Holders of TCEH First Lien Claims on a basis other than Pro Rata based upon the
Allowed amounts of such Claims as of the Petition Date; provided, however, that nothing in this definition shall
limit any claims or defenses to such issue.

380. “TCEH First Lien Creditor Plan Distribution Allocation Order” means a Final Order resolving
with prejudice the TCEH First Lien Creditor Plan Distribution Allocation Dispute, which allocations may be based

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(d)

(e)

(v) the TRA Rights (if any).

In addition, on the Effective Date the TCEH First Lien Agent will be deemed to have
delivered, pursuant to Section 5.01 of the TCEH Second Lien Intercreditor Agreement,
any notice necessary to cause the automatic release and discharge of any and all Liens
on the assets of the TCEH Debtors that secure the repayment of amounts due in respect
of the TCEH Second Lien Notes.

Allocation: Unless resolved before Confirmation, the TCEH First Lien Notes Trustee
and/or the Holders of TCEH First Lien Claims will seek, as soon as reasonably
practicable after Confirmation, entry of the TCEH First Lien Creditor Plan Distribution
Allocation Order resolving the TCEH First Lien Creditor Plan Distribution Allocation
Dispute through an adjudication of the TCEH First Lien Note Intercreditor Action or
otherwise. If a TCEH First Lien Creditor Plan Distribution Allocation Order is entered
prior to the Effective Date and such order provides that Holders of Allowed Class C3
Claims shall receive the TCEH First Lien Creditor Distributions on a basis other than
Pro Rata, then pursuant to section 510(a) of the Bankruptcy Code, any such TCEH
First Lien Creditor Distribution that is subject to such TCEH First Lien Creditor Plan
Distribution Allocation Order shall be distributed among the Holders of Allowed Class
C3 Claims in accordance with such TCEH First Lien Creditor Plan Distribution
Allocation Order; provided, however, that if a TCEH First Lien Creditor Plan
Distribution Allocation Order has not been entered by the Effective Date, then the
TCEH Debtors shall establish a reserve (in an amount to be determined by the TCEH
Debtors, with the consent of each of the TCEH First Lien Agent, the TCEH Supporting
First Lien Creditors, the TCEH First Lien Notes Trustee, and any other parties to the
TCEH First Lien Note Intercreditor Action) solely with respect to any TCEH First Lien
Creditor Distributions that remain subject to the TCEH First Lien Creditor Plan
Distribution Allocation Dispute, with such reserved amounts to be distributed on a Pro
Rata basis after entry of a TCEH First Lien Creditor Plan Distribution Allocation
Order, unless and to the extent such order provides that Holders of Allowed Class C3
Claims are entitled to a distribution of any TCEH First Lien Creditor Distributions on a
basis other than Pro Rata, in which case, pursuant to section 510(a) of the Bankruptcy
Code, any such TCEH First Lien Creditor Distribution that is subject to such TCEH
First Lien Creditor Plan Distribution Allocation Order shall be distributed among the
Holders of Allowed Class C3 Claims in accordance with such TCEH First Lien
Creditor Plan Distribution Allocation Order. Nothing in this Plan shall preclude any
party from seeking enforcement of the TCEH First Lien Creditor Adequate Protection
Payment Allocation Order or distribution of the Holdback Amount (as defined in the
Cash Collateral Order) under the Cash Collateral Order._For the avoidance of doubt,
nothing in this Plan shall (i) require any Debtor or any other party (including, without
limitation, the TCEH First Lien Administrative Agent, the TCEH First Lien Collateral
Agent, or any holder of TCEH First Lien Claims), to establish any reserve with respect
to_any distributions that are subject to the TCEH First Lien Creditor Deposit _L/C
Collateral Allocation Dispute_or (ii) impair, prejudice, release, compromise or waive
any claims any Holder of Allowed Class C3 Claims may have against one or more
other Holders of Allowed Class C3 Claims (other than the TCEH First Lien Agent
except in the TCEH First Lien Agent's capacity as a nominal defendant to declaratory

judgment claims in respect of which no monetary recovery is sought) pursuant to the
TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute.

Voting: Class C3 is Impaired under the Pian. Therefore, Holders of Allowed Claims in
Class C3 are entitled to vote to accept or reject the Plan.

29. Class C4 - TCEH Unsecured Debt Claims.

(a)

Classification: Class C4 consists of TCEH Unsecured Debt Claims.

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E. Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors shall
seek Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting
Class of Claims or Interests.

F. Controversy Concerning Impairment.

If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

G. Subordinated Claims and Interests.

The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the
respective distributions and treatments under the Plan take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
or Reorganized Debtors reserve the right to re-classify any Allowed Claim in accordance with any contractual, legal,
or equitable subordination relating thereto. Notwithstanding the foregoing, this Plan gives effect to the TCEH First
Lien Intercreditor Agreement and no additional changes to the allowance, classification, treatment, or distributions
shall be made as a result of the TCEH First Lien Intercreditor Agreement except for any such changes provided for
or otherwise consistent with the TCEH First Lien Creditor Plan Distribution Allocation Order as contemplated by

Article 11.B.28 of the Plan:_provided, that notwithstanding the foregoing, nothing herein shall impair, prejudice,
release, compromise or waive the rights, claims, Causes of Action, defenses or remedies of any Holder of Allowed
Class C3 Claims against any other Holder of Allowed Class C3 Claims (other than the TCEH First Lien Agent
except in the TCEH First Lien Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of
which no monetary recovery is sought) in connection with the TCEH First Lien Creditor Deposit L/C Collateral
Allocation Dispute. Notwithstanding anything to the contrary herein, the TCEH First Lien Agent and the Holders of
Allowed TCEH First Lien Claims shall be deemed to have waived any rights under the TCEH Second Lien
Intercreditor Agreement to extent such rights would, in any way, impair or diminish the recoveries of the Holders of

Allowed TCEH Second Lien Note Claims under this Plan or related documents.

ARTICLE IV.
MEANS FOR IMPLEMENTATION OF THE PLAN

A, General Settlement of Claims and Interests.

Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the
provisions of the Plan shall constitute a good faith compromise and settlement of all Claims and Interests and
controversies resolved pursuant to the Plan. Subject to Article VI of the Plan, all distributions made to Holders of
Allowed Claims and Allowed Interests in any Class are intended to be and shall be final.

B. Restructuring Transactions.

1. Restructuring Transactions.

On the Effective Date, the Debtors or the Reorganized Debtors, as applicable, will effectuate the
Restructuring Transactions, and will take any actions as may be necessary or advisable to effect a corporate
restructuring of their respective businesses or a corporate restructuring of the overall corporate structure of the

Debtors, to the extent provided therein. The actions to implement the Restructuring Transactions may include:
(a) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,

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to each of them under the Plan; and (5) allowing the Indenture Trustees, TCEH First Lien Agent, and DIP Agents to
appear in the Chapter 11 Cases or any proceeding in which they are or may become a party; provided, further,
however, that the preceding proviso shall not affect the discharge of Claims or Interests pursuant to the Bankruptcy
Code, the Confirmation Order, or the Plan, or result in any expense or liability to the Debtors or Reorganized
Debtors, as applicable. For the avoidance of doubt, the TCEH First Lien Intercreditor Agreement, the TCEH Credit
Agreement, and the TCEH First Lien Note Indenture remain in effect solely to the extent necessary to preserve the
TCEH First Lien Creditor Allocation Disputes and apythe_TCEH First Lien Creditor Deposit L/C Collateral
Allocation Dispute, and any (a) claims or Causes of Action by the TCEH First Lien Notes Trustee, TCEH First Lien
Agent, or Holders of TCEH First Lien Claims against other Holders of TCEH First Lien Claims, the TCEH First
Lien Agent, or the TCEH First Lien Notes Trustee arising in connection with the TCEH First Lien Creditor
Allocation Disputes:,or_(b) claims or Causes of Action by any Holder of Allowed Class C3 Claims against any
other Holder of Allowed Class C3 Claims (other than the TCEH First Lien Agent, except in the TCEH First Lien
Agent’s capacity as a nominal defendant to declaratory judgment claims in respect of which no monetary recovery is
sought) in the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute (or any claims, Causes of Action
or defenses of any other party to such dispute); provided, however, that except as expressly set forth in the Plan,
after the Effective Date, the Debtors and the Reorganized Debtors shall not be obligated to pay any fees or expenses
under either the TCEH First Lien Intercreditor Agreement, the TCEH First Lien Note Indenture, or the TCEH Credit
Agreement arising in connection with the TCEH First Lien Creditor Allocation Disputes_or the TCEH First Lien
Creditor Deposit L/C Collateral Allocation Dispute, and all related Claims shall be released and discharged
consistent with Article VIIA of the Plan.

J. Corporate Action.

On the Effective Date, all actions contemplated under the Plan with respect to the applicable Debtor or
Reorganized Debtor, as applicable, shall be deemed authorized and approved in all respects, including:
(1) implementation of the Restructuring Transactions; (2) selection of the directors and officers for the Reorganized
Debtors; (3) as applicable, adoption of, entry into, and assumption and/or assignment of the New Employee
Agreements/Arrangements and the Employment Agreements; (4) adoption of the Reorganized Debtor Management
Incentive Plan; (5) incurrence of the New Reorganized TCEH Debt and distribution of such New Reorganized
TCEH Debt or the net proceeds, if any; (6) incurrence of the New Reorganized EFIH Debt and distribution of the
net proceeds therefrom; (7) issuance and distribution of the Reorganized TCEH Common Stock; (8) issuance and
distribution of the Reorganized EFH Common Stock (including the New EFH Merger Common Stock); (9) issuance
and distribution of the Rights; (10) issuance and distribution of the New EFH Common Stock; (11) the Preferred
Stock Sale; (12) issuance and distribution of the common stock of the Preferred Stock Entity; (13) issuance of the
Reorganized TCEH Sub Preferred Stock; (14) issuance and distribution of the Reorganized EFIH Membership
Interests; and (15) all other actions contemplated under the Plan (whether to occur before, on, or after the Effective
Date). All matters provided for herein involving the corporate structure of the Debtors or the Reorganized Debtors,
as applicable, and any corporate action required by the Debtors or the Reorganized Debtors in connection with the
Plan shall be deemed to have occurred and shall be in effect as of the Effective Date, without any requirement of
further action by the Bankruptcy Court, security holders, directors, managers, or officers of the Debtors or the
Reorganized Debtors. On or before the Effective Date, the appropriate officers of the Debtors or the Reorganized
Debtors shall be authorized and, as applicable, directed to issue, execute, and deliver the agreements, documents,
securities, and instruments, and take such actions, contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including
the New Reorganized TCEH Debt Documents, the New Reorganized EFIH Debt Documents, the Reorganized
TCEH Common Stock, the common stock of the Preferred Stock Entity, the Reorganized TCEH Sub Preferred
Stock, the Reorganized EFH Common Stock, the New EFH Common Stock, the New EFH Merger Common Stock,
the Reorganized EFIH Membership Interests, as applicable, and any and all other agreements, documents, securities,
and instruments relating to the foregoing, and all such documents shall be deemed ratified. The authorizations and
approvals contemplated by this Article IV.J shall be effective notwithstanding any requirements under non-
bankruptcy law.

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ARTICLE VI.
PROVISIONS GOVERNING DISTRIBUTIONS

A, Timing and Calculation of Amounts to Be Distributed.

Unless otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is not an Allowed
Claim or Allowed Interest on the Effective Date, on the date that such Claim or Interest becomes an Allowed Claim
or Allowed Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Allowed
Interest shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Allowed
Interest in the applicable Class. In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the performance of such act
may be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims or Disputed Interests, distributions on account of
any such Disputed Claims or Disputed Interests shall be made pursuant to the provisions set forth in Article VII of
the Plan. Except as otherwise provided in the Plan, Holders of Claims and Interests shall not be entitled to interest,
dividends, or accruals on the distributions provided for in the Plan, regardless of whether such distributions are
delivered on or at any time after the Effective Date._For the avoidance of doubt, distributions to Holders of Allowed

Class C3 Claims shall be made in accordance with Article I1.B.28 of the Plan, notwithstanding the pendency of the
TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute.

With respect to Holders of Class C5 Claims that are Allowed as of the Effective Date, the amount of the
Effective Date distribution will be calculated as if each Disputed Class C5 Claim were an Allowed Class C5 Claim
equal to the lesser of (a) the asserted amount of such Claim and (b) the amount estimated by the Bankruptcy Court in
accordance with Article VII.C of the Plan. On each Periodic Distribution Date, the Disbursing Agent shall make
additional Pro Rata distributions to Holders of Allowed Class CS Claims until such Claims have received the
maximum recovery available to Holders of Class C5 Claims under the Plan.

Before the Effective Date, the TCEH Debtors shall create, in consultation with the TCEH Committee, a list
of Disputed Class C5 Claims that shall be Allowed Class C5 Claims as of the Effective Date. Following the creation
of such list, the TCEH Debtors shall, as soon as reasonably practicable thereafter submit, to the Bankruptcy Court an
order, in form and substance reasonably acceptable to the TCEH Committee, allowing such Claims; provided,
however, that entry of such order shall not in any way impede, delay, or otherwise interfere with the occurrence of
the Effective Date.

B. Disbursing Agent.

All distributions under the Plan shall be made to Holders of Allowed Claims by the Disbursing Agent on
the Effective Date, or as soon as reasonably practicable thereafter, in accordance with the Plan. The
Disbursing Agent shall not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court.

Cc. Rights and Powers of Disbursing Agent.

1. Powers of the Disbursing Agent.

The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions of the Plan.

2. Expenses Incurred On or After the Effective Date.

Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses

incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable compensation

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and expense reimbursement claims (including reasonable attorney fees and expenses) made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors. Reorganized TCEH shall only be obligated to pay the reasonable
fees and expenses incurred by the Disbursing Agent for distributions related to Claims against the TCEH Debtors,
and Reorganized EFH and Reorganized EFIH shall only be obligated to pay the reasonable fees and expenses
incurred by the Disbursing Agent for distributions related to Claims against the EFH Debtors and EFIH Debtors.

D. Delivery of Distributions and Undeliverable or Unclaimed Distributions.
1. Record Date for Distribution.

On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record Holders listed on the Claims
Register as of the close of business on the Distribution Record Date. The record Holder for the TCEH Credit
Agreement Claims solely for purposes of the Record Date shall be the TCEH First Lien Administrative Agent.

2. Delivery of Distributions in General.

Except as otherwise provided herein, the Reorganized Debtors shall make distributions to Holders of
Allowed Claims and Allowed Interests as of the Distribution Record Date at the address for each such Holder as
indicated on the Debtors’ records as of the date of any such distribution; provided, however, that the Distribution
Record Date shall not apply to publicly-traded Securities. The manner of such distributions shall be determined at
the discretion of the Reorganized Debtors, and the address for each Holder of an Allowed Claim or Allowed Interest
shall be deemed to be the address set forth in any Proof of Claim or Interest Filed by that Holder.

3. Delivery of Distributions on DIP Claims.

All distributions on account of DIP Claims shall be made to the applicable DIP Agent, who shall be
deemed to be the Holder of such DIP Claims, as applicable, for purposes of distributions to be made hereunder. As
soon as practicable following compliance with the requirements set forth in this Article VI, the applicable DIP
Agent shall arrange to deliver or direct the delivery of such distributions to or on behalf of the Holders of DIP
Claims in accordance with the terms of the DIP Facilities, as applicable, subject to any modifications to such
distributions in accordance with the terms of the Plan; provided, however, that the DIP Agents shall retain all rights
as administrative agents under the DIP Facilities in connection with the delivery of distributions to DIP Lenders.
The DIP Agents shall not have any liability to any person with respect to distributions made or directed to be made
by the DIP Agents.

4. Delivery of Distributions on TCEH First Lien Claims.

To the extent that the TCEH First Lien Creditor Plan Distribution Allocation Order provides that any of the
TCEH First Lien Creditor Distributions are Collateral (as that term is used in the TCEH First Lien Intercreditor
Agreement) or proceeds of Collateral (as that term is used in the TCEH First Lien Intercreditor Agreement), then
such distributions shall be made to the TCEH First Lien Collateral Agent for further distribution to the Secured Debt
Representatives (as defined in the TCEH First Lien Intercreditor Agreement) pursuant to and in accordance with the
Plan and the TCEH First Lien Creditor Plan Distribution Allocation Order, and the Secured Debt Representatives (as
defined in the TCEH First Lien Intercreditor Agreement) shall in turn make such distributions to the Holders of
Allowed Class C3 Claims pursuant to and in accordance with the Plan and the TCEH First Lien Creditor Plan
Distribution Allocation Order. To the extent that the TCEH First Lien Creditor Plan Distribution Allocation Order
provides that any of the TCEH First Lien Creditor Distributions are not Collateral (as that term is used in the TCEH
First Lien Intercreditor Agreement) or proceeds of Collateral (as that term is used in the TCEH First Lien
Intercreditor Agreement), then such distributions shall be made to the Secured Debt Representatives (as defined in
the TCEH First Lien Intercreditor Agreement) for further distribution directly to the Holders of Allowed Class C3
Claims pursuant to and in accordance with the Plan. If the TCEH First Lien Creditor Plan Distribution Allocation
Order has not been entered as of the Effective Date, a reserve will be established in the manner described in Article
I1I.B.28. For the avoidance _of doubt, distributions to Holders of Allowed Class C3 Claims shall be made_in

accordance with Article IILB.28 of the Plan, notwithstanding the pendency of the TCEH First Lien Creditor Deposit
L/C Collateral Allocation Dispute. THE TCEH FIRST LIEN AGENT AND THE TCEH FIRST LIEN NOTES

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Acquisition, the Management Agreement, the 2009 amendment to the TCEH Credit Agreement, the 2011
Amend and Extend Transactions, the 2005 Oncor Transfer, the 2013 Revolver Extension, the Luminant
Makewhole Settlement, the Tax and Interest Makewhole Agreements, the TCEH Intercompany Notes, the
Shared Services, any preference or avoidance claim pursuant to sections 544, 547, 548, and 549 of the
Bankruptcy Code, the formulation, preparation, dissemination, negotiation, or Filing of the Terminated
Restructuring Support Agreement, the Plan Support Agreement, the EFIH First Lien Settlement, or any
Restructuring Transaction, contract, instrument, release, or other agreement or document (including
providing any legal opinion requested by any Entity regarding any transaction, contract, instrument,
document, or other agreement contemplated by the Plan or the reliance by any Released Party on the Plan or
the Confirmation Order in lieu of such legal opinion) created or entered into in connection with the Plan
Support Agreement, the Terminated Restructuring Support Agreement, the Disclosure Statement, the Plan,
the Transaction Agreements, the DIP Facilities, the Chapter 11 Cases, the filing of the Chapter 11 Cases, the
pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including the issuance or distribution of Securities pursuant to the Plan, or the distribution of property under
the Plan, the Transaction Agreements, or any other related agreement, or upon any other act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date related or
relating to the foregoing. Notwithstanding anything to the contrary in the foregoing, the releases set forth
above do not release any post-Effective Date obligations of any party or Entity under the Plan, any
Restructuring Transaction, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement the Plan.

D. Releases by Holders of Claims and Interests.

As of the Effective Date, each Releasing Party is deemed to have released and discharged each
Debtor, Reorganized Debtor, and Released Party from any and all Claims and Causes of Action, including
Claims and Causes of Action identified, claimed, or released in the Standing Motions, the Litigation Letters,
or the Disinterested Directors Settlement, as well as all other Claims and Causes of Action, whether known or
unknown, including any derivative claims, asserted on behalf of the Debtors, that such Entity would have
been legally entitled to assert (whether individually or collectively), based on or relating to, or in any manner
arising from, in whole or in part, the Debtors (including the management, ownership or operation thereof),
the Debtors’ in- or out-of-court restructuring efforts, intercompany transactions (including dividends paid),
transactions pursuant and/or related to the Master Separation Agreement dated December 12, 2001, the
TCEH Credit Agreement, the TCEH First Lien Notes, the Cash Collateral Order (and any payments or
transfers in connection therewith), the TCEH First Lien Intercreditor Agreement, the Liability Management
Program, the Tax Sharing Agreements, the 2007 Acquisition, the Management Agreement, the 2009
amendment to the TCEH Credit Agreement, the 2011 Amend and Extend Transactions, the 2005 Oncor
Transfer, the 2013 Revolver Extension, the Luminant Makewhole Settlement, the Tax and Interest
Makewhole Agreements, the TCEH Intercompany Notes, the Shared Services, any preference or avoidance
claim pursuant to sections 544, 547, 548, and 549 of the Bankruptcy Code, the formulation, preparation,
dissemination, negotiation, or Filing of the Terminated Restructuring Support Agreement, the Plan Support
Agreement, the EFIH First Lien Settlement, or any Restructuring Transaction, contract, instrument, release,
or other agreement or document (including providing any legal opinion requested by any Entity regarding
any transaction, contract, instrument, document, or other agreement contemplated by the Plan or the
reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) created
or entered into in connection with the Plan Support Agreement, the Terminated Restructuring Support
Agreement, the Disclosure Statement, the Plan, the Transaction Agreements, the DIP Facilities, the Chapter
11 Cases, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of Securities pursuant
to the Plan, or the distribution of property under the Plan, the Transaction Agreements, or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other occurrence taking
place on or before the Effective Date related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth above do not release any (i) claims or Causes of Action by the
Holders of TCEH First Lien Claims, the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee
against one or more Holders of TCEH First Lien Claims, the TCEH First Lien Agent, or the TCEH First
Lien Notes Trustee arising from or in connection with the TCEH First Lien Creditor Allocation Disputes, (ii)

| post-Effective Date obligations of any party or Entity under the Plan, (iii) any Restructuring Transaction, er

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(iv) any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to

E. Exculpation.

Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur
liability for, and each Exculpated Party is hereby released and exculpated from, any Cause of Action for any
claim related to any act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases,
the formulation, preparation, dissemination, negotiation, Filing, or termination of the Terminated
Restructuring Support Agreement and related prepetition transactions, the Disclosure Statement, the Plan,
the Plan Support Agreement, the Transaction Agreements, or any Restructuring Transaction, contract,
instrument, release or other agreement or document (including providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement contemplated by the
Plan or the reliance by any Exculpated Party on the Plan or the Confirmation Order in lieu of such legal
opinion) created or entered into in connection with the Disclosure Statement, the Plan, the Plan Support
Agreement, the Transaction Agreements, or the DIP Facilities, the Filing of the Chapter 11 Cases, the pursuit
of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including
the issuance of Securities pursuant to the Plan, or the distribution of property under the Plan, the
Transaction Agreements, or any other related agreement, except for claims related to any act or omission
that is determined in a final order to have constituted actual fraud, willful misconduct, or gross negligence,
but in all respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
their duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon completion of
the Plan shall be deemed to have, participated in good faith and in compliance with the applicable laws with
regard to the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan. For the avoidance of doubt, notwithstanding anything to the contrary in the
foregoing, the exculpation set forth above does not exculpate any_{a) claims or Causes of Action by the
Holders of TCEH First Lien Claims, the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee
against one or more Holders of TCEH First Lien Claims, the TCEH First Lien Agent, or the TCEH First
Lien Notes Trustee arising from or in connection with the TCEH First Lien Creditor Allocation Disputes, or

F. Injunction.

In addition to any injunction provided in the Settlement Order, except as otherwise expressly
provided in the Plan or for obligations issued or required to be paid pursuant to the Plan or the Confirmation
Order, all Entities that have held, hold, or may hold claims or interests that have been released pursuant to
Article VIILC or Article VIILD of the Plan, shall be discharged pursuant to Article VILA of the Plan, or are
subject to exculpation pursuant to Article VIILE of the Plan, are permanently enjoined, from and after the
Effective Date, from taking any of the following actions against, as applicable, the Debtors, the Reorganized
Debtors, or the Released Parties: (i) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such claims or interests;

_(ii) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree, or
order against such Entities on account of or in connection with or with respect to any such claims or interests;
(iii) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the
property or the estates of such Entities on account of or in connection with or with respect to any such claims
or interests; (iv) asserting any right of setoff, subrogation, or recoupment of any kind against any obligation

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due from such Entities or against the property of such Entities on account of or in connection with or with
respect to any such claims or interests unless such Entity has timely asserted such setoff right in a document
Filed with the Bankruptcy Court explicitly preserving such setoff, and notwithstanding an indication of a
claim or interest or otherwise that such Entity asserts, has, or intends to preserve any right of setoff pursuant
to applicable law or otherwise; and (v) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such claims or interests
released or settled pursuant to the Plan. For the avoidance of doubt, notwithstanding anything to the
contrary in the foregoing, the injunction set forth above does not enjoin_(a) the TCEH First Lien Creditor
Allocation Disputes, or any claims or Causes of Action by the Holders of TCEH First Lien Claims, the TCEH
First Lien Agent, or the TCEH First Lien Notes Trustee against one or more Holders of TCEH First Lien
Claims, the TCEH First Lien Agent, or the TCEH First Lien Notes Trustee arising from or in connection

with the TCEH First Lien Creditor Allocation n Disputes: orth) the TCEH First Lien Creditor Deposit_Lit

G. Liabilities to, and Rights of, Governmental Units.

Nothing in the Plan or the Confirmation Order shall release, discharge, or preclude the enforcement
of: (i) any liability to a Governmental Unit that is not a Claim; (ii) any Claim of a Governmental Unit arising on or
after the Effective Date, other than taxes determined under the prompt determination procedure in section 505 of the
Bankruptcy Code, to the extent applicable; (iii) any liability to a Governmental Unit on the part of any Entity other
than the Debtors or Reorganized Debtors; or (iv) any valid right of setoff or recoupment by any Governmental Unit.

H. Environmental Law Matters.

Nothing in the Plan or the Confirmation Order shall release, discharge, or preclude the enforcement of, (or
preclude, release, defeat, or limit the defense under non-bankruptcy law of): (i) any liability under Environmental
Law to a Governmental Unit that is not a Claim; (ii) any Claim under Environmental Law of a Governmental Unit
arising on or after the Effective Date; (iii) any liability under Environmental Law to a Governmental Unit on the part
of any Entity to the extent of such Entity’s liability under non-bankruptcy law on account of its status as owner or
operator of such property after the Effective Date; (iv) any liability to a Governmental Unit on the part of any Entity
other than the Debtors or Reorganized Debtors; or (v) any valid right of setoff or recoupment by any Governmental
Unit. All parties’ rights and defenses under Environmental Law with respect to (i) through (v) above are fully
preserved. For the avoidance of doubt, the United States is not a Releasing Party under the Plan.

Nothing in the Plan or the Confirmation Order shall enjoin or otherwise bar any Governmental Unit from
asserting or enforcing, outside this Court, any liability described in the preceding paragraph. Nothing in the Plan or
the Confirmation Order authorizes: (i) the transfer or assignment of any governmental license, permit, registration,
authorization, or approval, or (ii) the discontinuation of any obligation thereunder, without compliance with all
applicable legal requirements under Environmental Law. The Bankruptcy Court retains jurisdiction, but not
exclusive jurisdiction, to determine whether environmental liabilities asserted by any Governmental Unit are
discharged or otherwise barred by the Confirmation Order or the Plan, or the Bankruptcy Code.

For the avoidance of doubt, all Claims under Environmental Law arising before the Effective Date,
including penalty claims for days of violation prior to the Effective Date, shall be subject to Article VIII of the Plan
and treated in accordance with the Plan in all respects and the Bankruptcy Court shall retain jurisdiction as provided
in Article XI of the Plan in relation to the allowance or disallowance of any Claim under Environmental Law arising
before the Effective Date.

Without limiting the Bankruptcy Court’s jurisdiction as set forth above, nothing in the Plan or the
Confirmation Order shall divest or limit the jurisdiction of other tribunals over the Environmental Action, and upon

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10. grant any consensual request to extend the deadline for assuming or rejecting Unexpired Leases
pursuant to section 365(d)(4) of the Bankruptcy Code;

11. resolve any cases, controversies, suits, disputes, Causes of Action, or any other matters that may arise
in connection with the Consummation, interpretation, or enforcement of the Plan, the Disclosure Statement, the
Confirmation Order, or the Restructuring Transactions, or any Entity’s obligations incurred in connection with the
foregoing, including disputes arising under agreements, documents, or instruments executed in connection with the
Plan, the Disclosure Statement, the Confirmation Order, or the Restructuring Transactions;

12. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
injunctions, and other provisions contained in Article VIII of the Plan and enter such orders as may be necessary to
implement such releases, injunctions, and other provisions;

13. resolve any cases, controversies, suits, disputes, or Causes of Action relating to the distribution or the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim for

amounts not timely repaid pursuant to Article VI.K.1 of the Plan;

14. enter and implement such orders as are necessary if the Confirmation Order is for any reason
modified, stayed, reversed, revoked, or vacated;

15. enter an order or decree concluding or closing the Chapter 11 Cases;

16. adjudicate any and all disputes arising from or relating to distributions under the Plan, including
without limitation the TCEH First Lien Creditor Deposit L/C Collateral Allocation Dispute;

17. consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Confirmation Order;

18. hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
505, and 1146 of the Bankruptcy Code, including any request made under section 505 of the Bankruptcy Code for
the expedited determination of any unpaid liability of a Debtor for any tax incurred during the administration of the
Chapter 11 Cases, including any tax liability arising from or relating to the Restructuring Transactions, for tax
periods ending after the Petition Date and through the closing of the Chapter 11 Cases;

19. except as otherwise limited herein, recover all assets of the Debtors and property of the Estates,
wherever located;

20. enforce all orders previously entered by the Bankruptcy Court; and
21. hear any other matter not inconsistent with the Bankruptcy Code.

ARTICLE XII.
MISCELLANEOUS PROVISIONS

A, Immediate Binding Effect.

Subject to Article [X.B of the Plan and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon the Debtors, the Reorganized Debtors, and any and all Holders of Claims or
Interests (irrespective of whether such Claims or Interests are deemed to have accepted the Plan), all Entities that are
parties to or are subject to the settlements, compromises, releases, discharges, exculpations, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to
Executory Contracts and Unexpired Leases with the Debtors. Nothing in the Plan or the Confirmation Order affects
the DIP Lenders’ rights or interests provided under the DIP Facilities, the DIP Agreements, or the DIP Orders,
including with respect to (1) any waivers or releases contained therein or (2) the DIP Agents’ rights to exercise event

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